                                Case 1:21-cv-00250-CWD Document 1-1 Filed 06/10/21 Page 1 of 1

  JS44 (Rev.04/21)                                                         CIVIL COVER SHEET
  TheJS44civilcoversheetandtheinformationcontunedhereinneitherreplacenorsupplementthefilingandserviceofpleadingsorotherpapersasrequiredbylaw,exceptas
  providedbylocalrulesofcourt. Thisform,approvedbytheJudicialConferenceoftheUnitedStatesinSeptember1974,isrequiredfortheuseoftheClerkofCourtforthe
  purposeofinitiatingthecivil docketsheet. (SEEINSTRUCTIONSONNEXTPAGEOFTHISFORM.)
  I. (a) PLAINTIFFS                                                                                         DEFENDANTS
           Erin D. Whiting, an individual; and Magic Plumbing, LLC,
           and Idaholimited liability company                                                                MagicValley Electric, LLC,
     (b) CountyofResidenceofFirstListedPlaintiff Can On Count                                               County ofResidence ofFirst Listed Defendant Jerome Count
                                  (EXCEPT IN U. S. PLAINTIFF CASES)                                                              (W U.S.PLAINTIFFCASESONLY)
                                                                                                            NOTE:        INLAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                         THETTiACTOFLANDINVOLVED"'
    (c) Attorneys(FirmName,Address,andTelephoneNumber)                                                       Attorneys (IfKnown)
           Wyatt B. Johnson, Lea Kear, 199 N. Capitol Blvd, Ste
           200, Boise, Idaho 83702

 II. BASIS OF JURISDICTION (Place^ "X"m 0»eBoxOnly)                                            III. CITIZENSHIPOF PRINCIPAL PARTIES<p/<,<;<,"" ..x"»o^Bo, forpia,»,,ff
                                                                                                        (For Diversity CasesOnly)                                       andOne Boxfor Defendant)
 D 1 U. S.Government                  [x]3 FederalQuesdon                                                                          PTF      DEF                                             PTF           DEF
           Plaintiff                              (U. S. GovernmentNota Party)                     CitizenofThisState             |_] 1 Q 1 IncorporatedorPrincipalPlace                    Q 4 Q4
                                                                                                                                                      of Business In This State

 Q2 U.S.Government                    I14 Diversity                                                Citizen ofAnother State        Q2 Q 2 IncorporatedanrfPrincipalPlace Q 5 Q5
           Defendant                             (IndicMeCMzemhipofParlies in Item III)                                                               of Business In Another State

                                                                                                   Citizenor Subjectof a         I13       || 3 ForeignNation                               a s           as
                                                                                                     ForeignCounby
 IV. NATUREOFSUIT(placean ..X" ,» OneBoxOnly)                                                                                          Click here for: Nature of Suit Cnrie nf
                                                                                                                                                                             isrri               tinns.
           CONTRACT                                             TORTS                                FORFEFTURE/PENALTY                       BANKRUPTCY                       OTHERSTATUTES
    110 Insurance                      PERSONAL INJURY                  PERSONAL INJURY              625 DmgRelatedSeizure                 422 Appeal 28 USC 158             375 FalseClaimsAct
    120 Marine                         310Aiiplane                  [_] 365PersonalInjury -              ofProperty 21 USC 881             423 Withdrawal                    376 QuiTarn (31 USC
   130Miller Act                       315 Airplane Product                 ProductLiability         690 Other                                 28 USC 157                         3729(a»
   140NegotiableInstnunent                 Liability                [] 367HealthCare/                                                        INTELLECTUAL                   400 StateReapportiomnent
   150 Recovery ofOverpayment          320 Assault, Libel &                Phamiaceutical                                                  PROPERTYRIGHTS                   410 Antitrust
      & EnforcementofJudgment              Slander                         Persona] Injury                                                                                  430 BanksandBanking
                                                                                                                                          820 Copyrights
   151 MedicareAct                     330 FederalEmployers'               ProductLiability                                                                                 450 Commerce
                                                                                                                                          830Patent
   152Recovery ofDefaulted                 Liability                Q 368AsbestosPersonal                                                 835 Patent-Abbreviated            460 Deportation
        Student Loans                  340 Marine                           Injury Product
                                                                                                                                              NewDragApplication            470 Racketeer Influenced and
        (Excludes Veterans)            345 Marine Product                Liability                                                        840 Trademark                         CorruptOrganizations
I1153RecoveryofOverpayment                    Liability              PERSONALPROPERTY                                                     880DefendTradeSecrets             480 Consumer Credit
        of Veteran's Benefits          350 Motor Vehicle            [3 370 Other Fraud               710 Fair LaborStandards                 Act of2016                         (15 USC 1681 or 1692)
   160 Stockholders' Suits             355 Motor Vehicle            [_] 371TruthinLending                Act                                                                485 TelephoneConsumer
   190 Other Contract                     Product Liability         Q 380OtherPersonal               720 Labor/Management                 SOCIALSECUBITY                          Protection Act
   195 ContractProductLiability        360 Other Personal                  Property Damage               Relations                        861 HIA (13956)                   490 Cable/Sat TV
   196 Franchise                          Injiuy                    [_| 385PropertyDamage            740 Railway Labor Act                862 Black Lung (923)              850 Securities/Commodities/
                                       362 PersonalInjury -                ProductLiability          751 Family andMedical                863DIWC/DJWW(405(g))                  Exchange
                                          MedicalMalpractice                                             Leave Act                        864 SSID Title XVI                890 Other Statutory Actions
       REALPROPERTY                     CmLMGHTS                     PRISONERPETmONS                 790 OAerLaborLitigation              865RSI(405(g))                    891 Agricultural Acts
   210 Land Condemnation               440 Other Civil Rights         HabeasCorpus:                  791 EmployeeRetirement                                                 893 Environmental Matters
   220 Foreclosure                     441 Voting                      463 Alien Detainee                IncomeSecurityAct                 ED       TAX IT                  895 Freedom of Information
   230 RentLease& Ejectment           442 Employment                   510 Motions to Vacate                                              870Taxes(U.S. PlaintiflF                Act
   240 Torts to Land                  443 Housing/                        Sentence                                                           or Defendant)                  896 Arbitration
   245 Tort ProductLiability              Accommodations               530 General                                                        871 IRS-ThirdParty                899 Administrative Procedure
   290 AU Other Real Property         445 Amer. w/Disabilities -       535 DeathPenalty                  IMMIGRATION                          26 USC 7609                       Act/Reviewor Appeal of
                                          Employment                   Other:                        462 NaturalizationApplication                                              Agency Decision
                                      446 Amer. w/Disabilities -       540 Mandamus & Other          465 OtherImmigration                                                   950 Constitutionality of
                                          Other                        550Civil Rights                   Actions                                                                State Statutes
                                      448 Education                   i 555 Prison Condidon
                                                                        560 Civil Detainee -
                                                                           Conditions of
                                                                           Confinement
V. ORIGIN(Placean "X"m OneBoxOnly)
[x]l Original           Q2 Removed from                   Q 3 Remanded from                  j-]4 Reinstated or |-] 5 Transferred from            Q 6 Multidistrict               [-] 8 Multidistrict
       Proceeding               State Court               L-l      Appellate Court           1-1 Reopened          I-l     Another District              Litigation -                   Litigation -
                                                                                                                           (specijy)                     Transfer                       Direct File
                                       Cite theU. S^Civil Statute underwhichyou are filing (ffonotcitejunsdictional statutes unlessiliveisify) :
                                        15 USC 1125
VI. CAUSE OF ACTION                    Briefdescriptionofcause:
                                       Trademark Infringement
VII. REQUESTED IN                      D CHECK IF TfflS ISA CLASSACTION                             DEMANDS                                    CHECKYESonly ifdemandedincomplaint:
     COMPLAINT:                               UNDERRULE23, F.R.Cv.P.                                                                           JURYDEMAND:       DYes [x]
VIII. RELATEDCASE(S)
        IF ANY                            (See instructions):
                                                                   JUDGE                                                                 DOCKET NUMBER
DATE                                                                  SIGNATUREOF ATTORNEYOFRECORD
June 10, 2021
FOROFFICEUSEONLY

  RECEIPTS                      AMOUNT                                    APPLYINGIFF                                    JUDGE                             MAG. JUDGE
